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1
     STEPHEN M. LOBBIN
     sml@smlavvocati.com
2    SML AVVOCATI P.C.
3
     888 Prospect Street, Suite 200
     San Diego, California 92037
4    (949) 636-1391 (Phone)
5
     Attorney(s) for Digital Verification Systems, LLC
6

7
                     IN THE UNITED STATES DISTRICT COURT
8                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
9
     DIGITAL VERIFICATION            §
10   SYSTEMS, LLC,                   §             Case No: 5:21-cv-08531-VKD
                                     §
11
          Plaintiff,                 §
12                                   §
     vs.                             §
13
                                     §
14   PAUBOX, INC.                    §             NOTICE OF VOLUNTARY
                                     §             DISMISSAL WITHOUT
15
          Defendant.                 §             PREJUDICE
16   ________________________________§
17         Plaintiff Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”) files this
18   Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil
19   Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
20   by the plaintiff without order of court by filing a notice of dismissal at any time before
21   service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
22   dismisses this action against Defendant Paubox, Inc. without prejudice, pursuant to
23   Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.
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                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
        Case 5:21-cv-08531-VKD Document 14 Filed 01/19/22 Page 2 of 2




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     Dated: January 19, 2022                  Respectfully submitted,

2                                             /s/ Stephen M. Lobbin
3                                             Stephen M. Lobbin
                                              sml@smlavvocati.com
4                                             SML AVVOCATI P.C.
5                                             888 Prospect Street, Suite 200
                                              San Diego, California 92037
6                                             (949) 636-1391 (Phone)
7
                                              Attorney(s) for Plaintiff Digital Verification
8
                                              Systems, LLC
9

10                               CERTIFICATE OF SERVICE

11         I hereby certify that on January 19, 2022, I electronically filed the above

12   document(s) with the Clerk of Court using CM/ECF which will send electronic

13   notification of such filing(s) to all registered counsel.

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15                                            /s/Stephen M. Lobbin
                                              Stephen M. Lobbin
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                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
